             Case 2:17-cv-07646-MWF-JPR Document 4 Filed 10/18/17 Page 1 of 3 Page ID #:130


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             7   Attorneys for Plaintiffs INDUSTRIAL BANK
                 OF KOREA; NONGHYUP BANK; KEB HANA
             8   BANK; KOOKMIN BANK
             9                         UNITED STATES DISTRICT COURT
           10                         CENTRAL DISTRICT OF CALIFORNIA
           11                                    WESTERN DIVISION
           12
                 INDUSTRIAL BANK OF KOREA; an             CASE NO. 2:17-cv-07646
           13    agency or instrumentality of the
                 Republic of Korea NONGHYUP
           14    BANK; a corporation of the Republic of   CORPORATE DISCLOSURE
                 Korea; KEB HANA BANK, a                  STATEMENT
           15    corporation of the Republic of Korea;
                 KOOKMIN BANK, a corporation of the       [Fed. R. Civ. P. 7.1]
           16    Republic of Korea,
           17                      Plaintiffs,
           18          v.
           19    ASI CORPORATION, a Delaware
                 Corporation; ASI COMPUTER
           20    TECHNOLOGIES, INC., a California
                 Corporation; BILL CHEN, an
           21    individual; HENRY CHEN a/k/a
                 HUNG CHEN, an individual;
           22    FRANCES CHOU a/k/a MEILING
                 CHOU, an individual; CHRISTINE
           23    LIANG a/k/a CHRISTINE LI-YIN
                 LIANG a/k/a LI YIN CHU, an
           24    individual; NEWEGG, INC., a
                 Delaware Corporation; MAGNELL
           25    ASSOCIATE INC., DBA
                 NEWEGG.COM, a California
           26    Corporation; and DOES 1 through 10,
                 inclusive,
           27
                                   Defendants.
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                                 PLAINTIFFS’ CORPORATE DISCLOSURE STATEMENT
             Case 2:17-cv-07646-MWF-JPR Document 4 Filed 10/18/17 Page 2 of 3 Page ID #:131


             1        Pursuant to Federal Rule of Civil Procedure 7.1 Plaintiffs Industrial Bank of
             2   Korea (“IBK”), NongHyup Bank (“NH”), KEB Hana Bank (“KEB Hana”), and
             3   Kookmin Bank (“KB”) state as follows:
             4        1.    IBK is a bank incorporated under the laws of the Republic of Korea, and it
             5              is an agency or instrumentality of the Republic of Korea. It has no parent
             6              company and no publicly-held corporation owns 10% or more of its stock.
             7        2.    NH is a bank incorporated under the laws of the Republic of Korea. It is a
             8              wholly owned subsidiary of NongHyup Financial Group Inc., a privately-
             9              held financial holding company in the Republic of Korea. NongHyup
           10               Financial Group is a wholly owned subsidiary of The National Agricultural
           11               Cooperative Federation, a federation of cooperatives in the Republic of
           12               Korea. The National Agricultural Cooperative Federation has no parent
           13               company, and no publicly-held corporation owns 10% or more of its stock.
           14         3.    KEB Hana is a bank incorporated under the laws of the Republic of
           15               Korea. It is a wholly owned subsidiary of Hana Financial Group Inc., a
           16               publicly-held financial holding company in the Republic of Korea. Hana
           17               Financial Group has no parent company, and no publicly-held corporation
           18               owns 10% or more of its stock.
           19         4.    KB is a bank incorporated under the laws of the Republic of Korea. It is a
           20               wholly owned subsidiary of KB Financial Group Inc., a publicly-held
           21               financial holding company in the Republic of Korea. KB Financial Group
           22               has no parent company, and no publicly-held corporation owns 10% or
           23               more of its stock.
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                                PLAINTIFFS’ CORPORATE DISCLOSURE STATEMENT
             Case 2:17-cv-07646-MWF-JPR Document 4 Filed 10/18/17 Page 3 of 3 Page ID #:132


             1   Dated: October 18, 2017           MAURICE SUH
                                                   GIBSON, DUNN & CRUTCHER LLP
             2

             3
                                                   By: /s/ Maurice Suh
             4                                                      Maurice Suh
             5
                                                   Attorneys for Plaintiffs
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Crutcher LLP                                         2
                                PLAINTIFFS’ CORPORATE DISCLOSURE STATEMENT
